          Case 1:23-cr-00177-ABJ Document 59 Filed 03/14/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :     Case No. 23-cr-00177 (ABJ)
               v.                              :
                                               :
SHANE LAMOND                                   :



  NOTICE OF INTENT TO WITHDRAW GOVERNMENT EXHIBITS 3007, 3010 and
        3012 AND SEEK ADMISSION OF GOVERNMENT EXHIBIT 3011

       At trial, the Government does not intend to seek admission of Government Exhibits 3007,

3010 and 3012.

       The Government will, however, seek admission of Government Exhibit 3011, a record

from the Metropolitan Police Department’s Central Source Registry related to Enrique Tarrio.

This document is relevant because it demonstrates that Mr. Tarrio was never registered as a source

by anyone at the Metropolitan Police Department and, therefore, rebuts any argument or

insinuation by the Defendant that Mr. Tarrio was speaking with other Metropolitan Police

Department employees who might have been aware of his arrest warrant or the plans for his arrest

when he arrived in the District of Columbia.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney

                                               By:   _/s/ Joshua S. Rothstein
                                                     Joshua S. Rothstein
                                                     Assistant United States Attorney
                                                     N.Y. Bar No. 4453759
                                                     United States Attorney’s Office
                                                     601 D Street, N.W.
                                                     Washington, DC 20539
                                                     (202)- 252-7164
